Case 1:18-cv-01377-HYJ-PJG      ECF No. 121, PageID.1473       Filed 03/24/21   Page 1 of
                                          2



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
                                  _________


  S&S INNOVATIONS CORP.,

        Plaintiff,                              Hon. Hala Y. Jarbou

  v.                                            Case No. 1:18-cv-01377-HYJ-PJG


  UUSI, LLC, et al.,

        Defendants,
  ________________________________/

                                        ORDER

       This matter is before the Court on two motions filed by the Plaintiff; Renewed

 Motion to to Compel Discovery Responses (ECF No. 110) and Motion to Withdraw

 Motion to Compel Discovery Responses. (ECF No. 119).

       On March 18, 2021, the Court held a hearing regarding Plaintiff’s pending

 motion to compel, at which time the motion was held in abeyance while the parties

 meet to resolve the discovery disputes. (See Minutes, ECF No. 116).

       On that same date the Court set a Status Conference for March 25, 2021, to

 discuss the outcome of the parties meeting. (ECF No. 115).

       On March 24, 2021, Plaintiff filed a motion to withdraw their pending motion

 to compel advising that the parties met in-person on March 23, 2021, at which time

 they were able to resolve a large portion of the discovery issues and no longer require

 additional court intervention. (ECF No. 119). Defendants concur with the relief
Case 1:18-cv-01377-HYJ-PJG     ECF No. 121, PageID.1474      Filed 03/24/21   Page 2 of
                                         2



 sought. (ECF No. 120). Accordingly,

       IT IS ORDERED that Plaintiff’s Motion to Withdraw (ECF No. 119) is

 GRANTED.

       IT IS FURTHER ORDERED that Plaintiff’s Renewed Motion to Compel

 Discovery Responses (ECF No. 110) is hereby WITHDRAWN without prejudice.

       IT IS FURTHER ORDERED that the Status Conference set in this matter

 for March 25, 2021, at 10:00 a.m. before Magistrate Judge Phillip J. Green is hereby

 CANCELLED.

       IT IS SO ORDERED.

 Date: March 24, 2021
                                              /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge




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